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CLERK US BANE RUPTEY COURT

Kelly A. Banducci
625 Dimick St.
Oregon City, OR 97045 ‘a4 MAR 12 p? 30
(503)650-9615

 

 

 

 

Plaintiff, Pro Se pnp ____-D0SKETED ———
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF OREGON
In re: Case No. 303-43612-elp7
MATTHEW SCOTT POULTON Adv. Proc.No._ 74 ~ 308K ef p
Debtor. COMPLAINT OBJECTING TO
DISCHARGE OF DEBT
{Fraud 11 U.S.C. § 523(a)(2)(A), 11
KELLY A. BANDUCCI U.S.C. § 523(a)(2)(B)(iii), 11 U.S.C. §
523(a)(2)(B)(iv), 11 U.S.C. §§23(a)(3)(B),
Plaintiff, 11 U.S.C. § 523(a)(3)(B)(4), 11 U.S.C. §
523(a)(3)(B)(5), 11 U.S.C. § 523(a)(6), 11
VS. U.S.C. § 523(a)(15)(B) and 11 U.S.C. §
523(a)(2)(C)(1), 11 U.S.C. §727(a)(2)(A),
MATTHEW SCOTT POULTON 11 U.S.C. § 727(a)(4)(A), 11 U.S.C. §
127(a)(4)(B), 11 U.S.C. § 727(a)(4)(c), 11
Defendant. ULS.C. § 727(a)(5), 11 U.S.C. §
727(d)(3)]
PLAINTIFF alleges:

1. This is an adversarial proceeding under Bankruptcy Rule 7001 in which plaintiff

seeks a determination of nondischargeability of plaintiff's debt pursuant to 11 U.S.C. §

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523(a)(2)(A), 11 U.S.C. § 523(a)(2)(B)(iii), 11 U.S.C. § 523(a)(2)(B)(iv), 11 U.S.C. §

523(a)(3)(B), 11 U.S.C. § 523(a)(3)(B)(4), 11 U.S.C. § 523(a)(3)(B)(5), 11 U.S.C. 8
523(a)(6), 11 U.S.C. § 523(a)(15)(B) and 11 U.S.C. § 523(a)(2)(C)(1).

2. This Court has jurisdiction under this core proceeding under 28 U.S.C §157

(b)(2)() and 28 U.S.C §1334.

3. On December 8, 2003, Defendant filed a voluntarily petition under Chapter 7 of
of the Bankruptcy Code and an Order for relief was filed. Plaintiff and Defendant cohabitated
in the State of Oregon as domestic partners from August 31, 2001 to July 24, 2003 in

Plaintiff's home.

4. Plaintiff is a creditor of Defendant by virtue of having loaned Defendant
substantial sums of monies on multiple occasions between July 2000 to July 2003 for
Defendant’s legal expenses, Attorney fees, Guardian ad Litem fees, travel and lodging
expenses, witness fees, legal service messenger fees, and travel and entertainment expenses of
Defendant’s children associated with Defendant’s recent Spokane County Superior Court
Washington State child custody case. Plaintiff also loan Defendant monies to satisfy his Utah
Court ordered support obligations associated with the medical care, mental health care,
educational expenses of Defendant’s children during this same two year period. Plaintiff
provided over 50% of Defendant’s financial support, care and housing from
September 26, 2001 through July 15, of 2002 during a significant period of Defendant’s
unemployment. Additional loans were made by Plaintiff to Defendant for major

vehicle repairs of Defendant’s car. The outstanding balance owed to Plaintiff by Debtor was

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$48,668.00.00 on the date of the bankruptcy filing.

5. In February of 2003 Defendant incurred a $3,000 gambling
debt which Plaintiff borrowed money from Plaintiff’s mother to reimburse the household fund.

6. During the months of May, June and July of 2003 Defendant began stealing
significant sums of money from Plaintiff's personal bank accounts via Plaintiff's ATM bank
cards without the consent or knowledge of Plaintiff. During these same months, Defendant
also committed fraud and theft through the unauthorized use of Plaintiff's Chevron gas card.

7. On July 22, 2003, Plaintiff demanded Defendant move out of her residence.
Defendant then committed a personal battery on Plaintiffs person which was witnessed by
Plaintiff's eleven year old daughter and demanded $900.00 to vacate Plaintiff's home.
Physically injured and under duress Plaintiff wrote Defendant a personal check payable to
Defendant but Defendant did not immediately leave the premises as agreed. On July 23, 2003
Plaintiff placed a stop order on the check.

8. On July 24, 2003 Defendant and five members of Defendant’s current
roommate’s household came to Plaintiff's home while Plaintiff's daughter was home alone and
Plaintiff was at work 30 miles away. Plaintiff's daughter called the police stating that she was
scared and didn’t want Defendant and others in the home while her mother was not there.
Defendant then began physically moving out of Plaintiffs home taking his belongings in
addition to several of Plaintiff's belongings, i.e., one 32” Toshiba Color TV w/remote, one
Twin size captain’s bed with pedestal, box spring and mattress, craftsman tool set, vise-grip

tool set, one Stanley 3-50’ power cords and one power cord caddy. These intentional and

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malicious actions by Defendant against Plaintiff, coupled with Defendant’s

physical assault on Plaintiff's person and witnessed by Plaintiff's daughter caused significant
mental and psychological damage to both Plaintiff and Plaintiff's daughter requiring long term
counseling which both continue treatment for today. Defendant should therefore be held
responsible for all mental health and medication expenses incurred by Plaintiff for treatment of

Plaintiff and Plaintiff's minor child.

9, On February 27, 2004 Defendant walked into the Tigard, Oregon branch of
Washington Mutual Bank and cashed the aforementioned check for $900.00 cash. The stop
payment order Plaintiff had placed on the check had a 6 month expiration date. Once again,
Defendant through his own intentional and malicious actions caused harm to Plaintiff by
stealing from Plaintiff's bank account. However, Defendant admits owing $15,000 to Plaintiff
by listing Plaintiff on the list of creditors but failed to list this check in Defendant’s possession
since July 22, 2003 as a personal asset within Defendant’s Chapter 7 Bankruptcy Petition.

10. _—_— Plaintiff earns $12,000 less per year than Defendant and Plaintiff has consistently
and continually made monthly payments including interest accruing monthly in repayment of
debts of the Defendant borrowed by Defendant from Plaintiff's credit lines.

11. Plaintiff justifiably relied upon Defendant’s representations to Plaintiff during the
two years of cohabitation together that, by sporadic payments and re-borrowing by the

Defendant from the Plaintiff credit lines, Defendant’s continual reference of Plaintiff to the
general public and the Courts as his “fiancée”, Defendant would repay all amounts utilized in

accordance with the terms and conditions agreed to between Plaintiff and Defendant until fully

repaid.
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By June 1, 2001, Defendant’s account balance was $0.
By September 1, 2001 Defendant’s account balance was $386.00.

By October 15, 2001 Defendant’s account balance was $4,686.00.

By November 30, 2001 Defendant’s account balance was $10,686.00.

By December 31, 2001 Defendant’s account balance was $18,686.00.
By January 31, 2002 Defendant’s account balance was $19,186.00.
By February 27, 2002 Defendant’s account balance was $16,186.00.
By March 31, 2002 Defendant’s account balance was $16,986.00.
By April 30, 2002 Defendant’s account balance was $19,116.00.

By May 31, 2002, Defendant’s account balance was $19,966.00.

By June 30, 2002 Defendant’s account balance was $23,966.00.

By July 31, 2002 Defendant’s account balance was $24,766.00.

By August 31, 2002 Defendant’s account balance was $26,516.00.
By September 30, 2002 Defendant’s account balance was $26,516.00.
By October 31, 2002 Defendant’s account balance was $29,516.00.

By November 30, 2002 Defendant’s account balance was $30,116.00.

By December 31, 2002 Defendant’s account balance was $31, 116.00.

By January 31, 2003 Defendant’s account balance was $32, 116.00.
By February 28, 2003 Defendant’s account balance was $35,116.00

By March 31, 2003 Defendant’s account balance was $38,616.00.

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32. By April 30, 2003 Defendant’s account balance was $39.116.00.

33. By May 31, 2003 Defendant’s account balance was $40,166.00

34. By June 30, 2003 Defendant’s account balance was $40,666.00.

35. By July 24, 2003 Defendant’s account balance was $47,041.00.

36. By August 31, 2003 Defendant’s account balance was $47,181.00.

37. By September 30, 2003 Defendant’s account balance was $47,261.00

38. By October 31, 2003, Defendant’s account balance was $47401.00.

39. By November 30, 2003, Defendant’s account balance was $47,791.00.
40. By December 31, 2003, Defendant’s account balance was $48,668.00.

41. By February 27, 2004, Defendant’s account balance stands at $49,608.00.

42. During the above-described period Defendant made sporadic payments.

Payments were only made during Defendant’s cohabitation period with Plaintiff.

43. Defendant never intended to fully repay the debts due and owing to Plaintiff.

44. Defendant was already insolvent at the onset of the charges set forth above, and
did not have the present ability or realistic future possibility to repay the debt.

45. Defendant therefore, had a specific intent to defraud Plaintiff by accepting the
benefits of the loans without ever intending to repay the same.

46. | Defendant’s actions constitute material misrepresentations of fact which were
intended to be relied upon by Plaintiff in making Defendant loans.

47. | Defendant’s actions constitute repeated malicious, intentional and with fore

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thought coercions of Plaintiff to obtain said loans.

48. Plaintiff, in fact, did reasonably rely upon Defendant’s misrepresentations of
Repayment and continual coercions and was induced to lend money to Defendant by said

misrepresentations and coercions.

49. Defendant did not claim the afore-mentioned monies as taxable income on
Defendant’s tax returns for tax years 2000 through 2003. However, although not entitled to
the Educational Hope Credit, Defendant did claim this credit for tax year 2003 for
educational expenses paid not by the Defendant but by the Plaintiff on behalf of Defendant’s
minor son.

50. Plaintiff attended the Meeting of Creditor’s and after review of Defendant’s
sworn statements and schedules filed, brought several sub abuses outlined in written format to
the attention of the Trustee, Mr. Robert Morrow appointed in the Defendant’s related Chapter
7 bankruptcy case. Mr. Morrow then coffered with Ms. Poppel of the U.S. Trustee’s office.
As of the filing of this complaint the information provided by Plaintiff to the Trustee

continues to be reviewed pending possible further action by the U.S. Trustee.

51. As a result of Defendant’s actions, which actions amount to actual fraud, Plaintiff

has thereby sustained substantial loss and damages.

52. Due to Defendant’s actions, it was necessary for the Plaintiff to seek legal
advice on the filing of this complaint for which the Plaintiff has incurred costs and expenses,
including attorney’s fees, legal research fees and filing fees, which the Defendant is obligated

to pay. Plaintiff incurs monthly interest expenses on the balances that remain on

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Plaintiffs credit lines borrowed on behalf of the Defendant, which the Defendant is also

obligated to pay.

53.

By reason of the foregoing, Defendant obtained money from Plaintiff through

false pretense, false representation, coercion and/or actual fraud.

WHEREFORE, Plaintiff prays for a judgment against Defendant, and in favor to the

Plaintiff as follows:

1.

5.

Declaring that the debt to Plaintiff is nondischargable.
A money judgment in the amount of $49,608.00.

Declaring that all personal property belonging to Plaintiff and stolen from

Plaintiff's home by Defendant be returned in good condition.

For Plaintiff's reasonable attorney’s fees, costs and disbursements incurred
herein;

For such other and further relief the Court deems just and proper.

DATED this” oe ay of March, 2004.

By ZK 2 bey AL Binitucer

KEYLY A. BANDUCCI, Pro Se

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ADVERSARY PROCEEDING COVER SHEET

(Instructions on Reverse)

 

ADVERSARY PROCEEDING
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DEFENDANTS

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PARTY (Check

one box only) 1. U.S. PLAINTIFF

 

 

 

 

 

 

 

2. U.S. DEFENDANT

 

 

 

3. U.S. NOT A PARTY

 

 
        

CAUSE OF ACTION EA A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

 

 

 

 

 

 

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= 454 To Recover Money or a Chap Th hee hse pine relating to any of foregoing causes of action

 

435 To Determine Validity,
Priority, or Extent of a Lien or
Other Interest in Property

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426 To determine the dischargeability of a
debt 11 U.S.C. §523

 

 

459 To determine a claim or cause of action
removed to a bankruptcy court

 

 

458 To obtain approval for the
sale of both the interest of the estate
and of a co-owner in property

 

434 To obtain an injunction or other
equitable relief

 

 

 

 

498 Other (specify)

 

 

 

 

 

424 To object or to revoke a
discharge 11 U.S.C. §727

 

4577 To Subordinate any allowed claim or
interest except where such subordination is
provided in a plan

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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